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EXHIBIT C

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al,’ Case No, 08-13141 (KJC)
Debtors. Jointly Administered

STIPULATION BETWEEN DEBTORS AND
DEBT ACQUISITION COMPANY OF AMERICA V
AND AFFILIATES CONCERNING VOTES ON

DEBTOR/COMMITTEE/LENDER PLAN OF REORGANIZATION

The debtors and debtors-in-possession in the above-captioned chapter 11 cases (the

“Debtors”) and Debt Acquisition Company of America V (and its affiliate, DACA 2010L, LP)

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, are: Tribune Company
(0355), 435 Production Company (8865); $800 Sunset Productions inc, (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation ($626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 49, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Cornpany (5434); Chicago Tribune Compeny (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Preas Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc, (1352); Courant Speciaity Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(3628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (3505); GreenCa, Inc, (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JutiusAir Company Il, LLC: KLAH Ine. (4014); KPLR, Inc.
(7943); KSWB Ine. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Loe Angeles Times
International, Ltd, (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Conwpany (6522); NBBF, LLC (0893);
Neacomm, Inc, (7208); New Maas. Media, Inc. (9553); Newscom Services, Inc. (4817), Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Commonications Company (3775); Patuxent Publishing Company (4223); Publishers Foreat Products Co. of Washington (4750); Sentinel
Communicmions News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southem: Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Compeny (2684); The Baltimore Sun: Company
(6880); The Daily Press, Inc, (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088), Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Compariy, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcastin:
Holdeo, LLC (2534); Tribune Broadcasting News Network, Inc., n/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, fik/a Chicago National League Bail Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribute Television Company (1634); Tribune
Television Holdings, Inc. (1530}; Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMaii, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384) WCCT, Inc., ffk/s WTXX
Inc. (1268), WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and

WPIX, Inc. (0191). The Debtors’ corporate headquarters and the tailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Winois 60611. . . ‘

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(“DACA”), respectfully submit this Stipulation (the “Stipulation”) concerning the change of
votes cast by DACA on the Second Amended Joint Plan of Reorganization for Tribune
Company and its Subsidiaries proposed by the Debtors, the Official Committee of Unsecured
Creditors, Oaktree Capital Management, L.P, Angelo, Gordon & Co., L.P, and JPMorgan Chase
Bank, N.A. (the “Debtor/Committee/Lender Plan”), which votes were originally cast to reject
such plan, to be deemed to be acceptances of such plan. The parties to this Stipulation
respectfully state as follows:

1, On March 3, 2011, the proponents of the Debtor/Committee/Lender Plan filed the
Proposed Second Amended Joint Plan of Reorganization for Tribune Company and its
Subsidiaries (the “Modified D/C/L Plan”) [D.I. 8259]. The Modified D/C/L Plan, among other
things, modifies the treatment to be afforded to the classes of General Unsecured Claims against
the Debtors other.than Tribune Company (the “Debtor Subsidiaries”) to remove the $150 million
aggregate cap on such claims that had been contained in the Debtor/Committee/Lender Plan.

See Modified D/C/L Plan at § 3.3.5(b), with such language attached to this Stipulation as Exhibit

A.

2. DACA, as transferee of various General Unsecured Claims against the Debtor
Subsidiaries, voted all of such General Unsecured Claims to reject the Debtor/Committee/
Lender Plan based on the existence of the $150 million aggregate cap on General Unsecured
Claims against the Debtor Subsidiaries.

3. The revisions to the Modified D/C/L Plan attached hereto as Exhibjt A eliminate
the basis for DACA’s votes to reject the Debtor/Committee/Lender Plan and, as a result, DACA
now supports confirmation of the Modified D/CIL Plan and wishes to change its previous votes

to reject the Debtor/Committee/Lender Pian to reflect that it accepts the Modified D/C/L Plan.

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4. Accordingly, DACA affirmatively states that as a result of the modifications -
contained in the Modified D/C/L Plan, DACA hereby requests that the votes on Exhibit B
hereto, which are votes previously cast by DACA to rej ect the Debtor/Committee/Lendet Plan,
each be classified as votes to accept the Modified D/C/L Plan.

_ 5. The Debtors and DACA each intend that notice of this Stipulation provide notice of
‘DACA’s change of their votes respecting the Debtor/Committee/Lender Plan, in accordance

with Rule 3018(a) of the Federal Rules of Bankruptcy Procedure.”

‘DEBT ACQUISITION COMPANY OF . SIDLEY AUSTIN LLP
AMERICA V (on behalf of itself ,
and its affiliate, DACA 2010L, LP)
Name: “Tom, Scvadt
Title: ul - Kenneth P. Kansa_
One South Dearborn Street
Chicago, IL 60603 -

Telephone: (312) 853-7000
Facsimile: (312) 853-7036

-and-

COLE, SCHOTZ,. ‘MEISEL, FORMAN &
LEONARD, P.A. _

Norman L, Pernick (No. 2290)

J. Kate Stickles (No. 2917)

500 Delaware Avenue, Suite 1410
Wilmington, DE 19801

Telephone: (302) 652-3131

Counsel to Debtors and
Debtors-in-Possession

? The DACA signatory below is authorized to sign and file this Stipulation conceming the change of DAC A's votes
pursuant to Rule 301 8c) of the Federal Rules of Bankruptcy Procedure.

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Exhibit A
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, (d) Voting: Claims in Class 50D through 111D are Impaired,
and Holders of Claims in Classes SOD through 111D are conclusively deemed to have
rejected the Plan and are not entitled to vote to accept or reject the Plan.

3.3.5

(a). Classification: Classes 2 through 111B consist of al
General Unsecured Claims against the relevant Filed Subsidiary Debtors, The numerical
portion of the Class designation corresponds to the applicable Debtor number on
Appendix A hereto.
, (b) ‘Treatment; On or as soon as reasonably practicable after
the applicable Distribution Date, each Holder of an Allowed General Unsecured Claim
against a Filed Subsidiary Debtor shell receive an amount of Cash (paid out of the
Distributable Cash Pool) equal to-thetesser-e£G} 100% of such Holders’ Allowed
General Unsecured Claim Against a Filed Subsidiary Debtor-er-Gi}-a-Pre-Rate-chare-of

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accrus or be paid on any General Unsecured Claim against a Filed Subsidiary Debtor.

(c) Voting: Claims in Classes 2B through 111E are Impaired,
and Holders of Claims in Classes 2B through 11.18 are entitled to vote to accept or reject
the Plan against the relevant Debtors,

3.3.6 Classes 2K through 111K. — Intercompany Claims.

(a) Classification: Classes 2K through L11K consist of all
Intercompany Claims against the relevant Filed Subsidiary Debtors. The numerical
portion of the Class designation corresponds to the applicable Debtor number on
Appendix A hereto.

(b) Treatment: In full satisfaction, settlement, release and
discharge of and in exchange for Intercompany Claims against Filed Subsidiary Debtors,
except as otherwise provided herein, Holdera of Intercompany Claims shall receive the
treatment afforded to them in the Intercompany Claims Settlement.

{c) Voting: Cisims in Classes 2K through 111K are Impaired;
however, as set forth in Section 4,3, votes on, the Plan shall not be solicited from Holders
of Claims in Classes 2K through 111K.

3.3.7 Classes 2

(a) Classification: Classes 2L through 111L consist of all
Sccurities Litigation Claims against the relevant Filed Subsidiary Debtors. The
numerical portion of the Class designation corresponds to the applicable Debtor number
on Appendix A hereto. ,

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Exhibit B
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Exhibit 1
TRIBUNE COMPANY, et sh

Debtor/Committee/Lender Plan Ballot Detail for Debt Ht Acquisition Company of Amerie and Affiliates

Nawe

BACA 2010L, LP (TRANSFEROR: WOOD BROS AIR COMPRESSORS. LL}
DACA 2010L, LP (TRANSPEROR: REDICARE CO.}
DACA 2010L, LP (TRANSFEROR: MH § ALUMNI ASSOCIATION)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: DEARMAN MARIA)
DACA 2010L, LP (TRANSFEROR: AAA FLAG & BANNER MFG CO INC)
DACA 2010L, LP (TRANSFEROR: LOST AND SOUND INC)
’ DACA 2010L, LP (TRANSFEROR: ASSOCIATED INSURANCE PLAN}
DACA 2010L, LP (TRANSFEROR: HAMILTON CIRCULATION)
DACA 2010L, LP (TRANSFEROR: ORLAND TOWNSHIP)
DACA 2010L, LP (TRANSFEROR: PRAIRIE DISTRICT LOFTS)
DACA 2010L, LP (TRANSFEROR: MILLENIUM PARK LIVING)
DACA 2010L, LP (TRANSFEROR: ARAMARK REFRESHMENT SERVICES}
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: DETROIT FREE PRESS)
DEBT ACQUISITION COMPANY Of AMERICA V (TRANSFEROR: INFORMS INC)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: MOODY BIBLE INSTITUTE}
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: GLEN BROOK HIGH SCHOOL #225)
DACA 2010L, LP (TRANSFEROR: ARAMARK CORPORATION)
DACA JOLOL, LP (TRANSFEROR: ARAMARK CORPORATION)
DEBT ACQUISITION COMPANY OF AMERICA V. (TRANSFEROR: CHICAGO ASSOC OF REALTORS)
DACA 2010L, LP (TRANSFEROR: WEIDEL REALTORS)
DACA 2010L, LP (TRANSFEROR: PPQUE & ASSOCIATES)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR:EFLAT FEE REALTY ASSOC REALTY)
DACA 2010L, LF. (TRANSFEROR: HILLEL BAY SCH OF BOCA)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: BUSINESS CARDS TOMORROW)
DACA 2010L, LP (TRANSFEROR: WESTERN HIGH SCHOOL)
DACA 20001, LP (TRANSFEROM: 2136) LUC)
DACA 2010L, LP (TRANSFEROR: DABBAH, MARIELA C)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: AIRTIME AMUSEMENTS INC)
DACA 2010L, LP (TRANSFEROR: LIMOUSINE CONNECTION INC)
DACA 2010L, LP (TRANSFEROR: SOUTHERN COUNTIES NEWS SVC.)
DEBT ACQUISITION COMPANY OF AMERICA V (IRANSFEROR: JOSHUA MORTON PRODUCTIONS)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: GREENSCAPES, INC.)
- DACA 20101, LP (TRANSFEROR: FIVE CONTINENTS MUSIC INC)
DACA 20101, LP (TRANSFEROR: FLINTRIDGE PARK INC}
DACA 2010L, LP (TRANSFEROR: ABM SECURITY)
DACA 2010L, LP (TRANSFEROR: WESTERN AMERICAN DEVELOPMENT}
DACA 2010L, LP CCRANSFEROR: ALPINE CREATIVE)
DACA 20101, LP (TRANSFEROR: G2 DIRECT & DIGITAL)
DACA 2010L, LP (TRANSFEROR: FRS ENVIRONMENTAL INC)
DACA 2010L, LP (TRANSFEROR: COURTHOUSE NEWS SERVICE}
DACA 2010L, LP (TRANSFEROR: WESTERN STATE UNIVERSITY)
DACA 70101, LP (TRANSFEROR: PRESS PHOTOGRAPHERS ASSOC.)
DACA 2010L, LF {TRANSFEROR: NEWPORT-MESA SCHOOLS)
DACA 2010L, LP (TRANSFEROR: SCALE FX INC)
DACA 20101, LP (TRANSFEROR: VETERINARY CANCER GROUP}
DACA 20108, LP (TRANSFEROR: Gi DIRECT & DIGITAL (LAT))
DACA 2OLOL, LP (TRANSFEROR: THE NATIONAL ARTS CLUB)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: GLENRIDOE CENTER)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: EXECUTIVE TAILORED CLOTHIER)
_ DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR; ACCESS MEDIAGROUP) .
DEBT ACQUISITION COMPANY CF AMERICA V (TRANSFEROR: ARAMARK REFRESHMENT SER VICES)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: CLEAR CHOICE MAGAZINE)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: R T ENTERPRISES)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: AIRGAS DRY ICE)
DEBT ACQUISITION COMPANY OF AMERICA ¥ (TRANSFEROR: MONTEBELLO ORTHOPEDIC)
DEBT ACQUISITION COMPANY OF AMERICA ¥ (TRANSFEROR: BRYMAN COLLEGE)
DEBT ACQUISITION COMPANY OF AMBRICA V (TRANSFEROR: ORANGE COUNTY NAMEPLATE CO.)
DEBT ACQUISITION COMPANY OF AMERICA ¥ (TRANSFEROR: F HAUTER)}
DACA 2010L, LP (TRANSFEROR: BRAINARD CAFE}
DACA 20102, LP (TRANSFEROR: HOLIDAY INN CALDER PRO PLYR)
DACA 2010L, LP (TRANSFEROR: PERMONT DEVELOPMENT)
DACA 20101, LP (TRANSFERGR: WATERFORD LAKES TOWN CENTER)
DACA 20101, LP (TRANSFEROR: ANSON STONER INC}
DACA 20104, LP (TRANSFEROR: COMP-AIR SERVICE COMPANY)
DEBT ACQUISITION COMPANY OF AMBRICA V (TRANSFEROR: MYMEDIAWORKS .COM)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: FMP DIRECT INC}
DEBT ACQUISITION COMPANY OF AMERICA V (FRANSFEROR: COMPASS
DEBT ACQUISITION COMPANY OF AMERICA ¥ (TRANSFEROR: FLORIDA HOMES & PROPERTIES)

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DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: AAA STAFFING)
DACA 2010L, LP (TRANSFEROR: AT THE HOP)
DACA 2010L, LP (TRANSFEROR: FINOCCHIO BROTHERS CARTING)
DACA 2010L, LP (TRANSFEROR: BERMAN NEWS SERVICE LP) -
DACA 2010L, LP (TRANSFEROR: ALL AMERICAN SEWER & DRAIN)
DACA 20101, LP (TRANSFEROR: BLYNN}
DACA 2010L, LP (TRANSFEROR: BARTEK, RITA ALEXANDRA)
DEBT ACQUISITION COMPANY OF AMERICA ¥ (TRANSFEROR: C. L, FIELDS)
DACA 20108, LP (TRANSFEROR: MATHEWS BOOK STORE)
DACA 2010L, LP (TRANSFEROR: LEDERS JEWELERS)
’ DACA 20101, LP (TRANSFEROR: CARVEL)
DACA 2010L, LP (TRANSFEROR: WEST END PIZZA)
DACA 2010L, LP (TRANSFEROR: JANUHUNTINGTON STATION}
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: LE FRENCH CLEANERS),
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: M & J TRUCKING ENTERPRISES)
DACA 2010L, LP (TRANSFEROR: TECHNICAL SERVICE SOURCE INC)
DACA 20101, LP (TRANSEFEROR: AKADEMIC FOUNDATION INC)
DACA 2010L, LP (TRANSFEROR: REVGEN CONSULTING LLC)
DACA 20101, LP {TRANSFEROR; BIG CITY TAVREN)
_ DACA 20108, LP (TRANSFEROR: BAGEL TREE)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: JAB WINDOW CLEANING SERVICE)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: CHARTWELLS /DAKA)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: COFFEE SUPPLIES AND BEVERAGE)
DEBT ACQUISITION COMPANY OF AMERICA Y (TRANSFEROR: RANGER CONSTRUCTION)
GACA 2010L, LP (TRANSFEROR: § K 1 SUPPLY KIT)
DACA 2H10L, L? (TRANSFEROR: BONEFISH GRILL) -
DACA 2010L, LP (TRANSFEROR; BRIDGESTREET CORPORATE)
DACA 2010L, LP (TRANSFEROR: IMAGINE SCHOOLS)
DACA 2010L, LP (TRANSFEROR: DONER DIRECT)
DACA 2010L, LP (TRANSFEROR: NAIMA SAID & ASSOCIATES PC)
DACA 2010L, LP (TRANSFEROR: RIPARIUS CONSTRUCTION}
DACA 2010L, LP (TRANSFEROR: M BURKE DELANEY DMD)
DACA 20101, LP (TRANSFEROR: SHORE LEAVE CONVENTION)
DACA 2010L, Lf (TRANSFEROR: RYAN HOMES)
DACA 20K0L, LP (TRANSFEROR: GERSTELL ACADEMY)
DACA 2010L, LP (TRANSFEROR: AERO TRANSCRIPTIONS)
_ DACA 20101, LP (TRANSFEROR-MARYLAND AUTO DEALERS SVC INC}
DEBT ACQUISITION COMPANY Of AMERICA V (TRANSFEROR: CHIPS AUTOMOTIVE}
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: BEREAN BAPTIST CHURCH)
DACA 2G10L, LP (TRANSFEROR; MERRIT PRESS INC)
DACA 2010L, LP (TRANSFEROR: BON SECOURS EMPLOYEE}
DACA 20101, LP (TRANSFEROR: PRESCIENT APPLIED)
DACA 2010L, LP (TRANSFEROR: HAMILTON CIRCULATION)
DACA 2010L, LP (TRANSFEROR: HEADWAY CORPORATE ST)
DEBT ACQUISITION COMPANY OF AMERICA ¥ (TRANSFEROR: OUTBACK STEAKHOUSE)
DACA 2010L, LF (TRANSFEROR: SKILLCRAFT MACHINE)
DACA 2010L, LP (TRANSFEROR:HAITIAN HEALTH FOUNDATION INC)
DACA 2014L, LP (TRANSFEROR: GOOD MORNING NEWS LLC)
DACA 20I0L, LP (TRANSFEROR: RESPOND SYSTEMS INC)
DACA 2010L, LP (TRANSFEROR: DELTA BULK TRANSPORT)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: BRISTOL CHAMBER OF COMMERCE)
DEBT ACQUISITION COMPANY OF AMERICA ¥ (TRANSFEROR: CONNECTICUT AUTOMOTIVE)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: GILCHRIST FEATURES)
DACA 20108, LP (TRANSFEROR: MEL TAYLOR AND ASSOCIATES)
DACA 2010L, LP (TRANSFEROR: VOLUNTEER CENTER OF LEHIGH)
DACA 2010L, LP (TRANSFEROR: COMMUNITIES IN SCHOOLS)
DEBT ACQUISITION COMPANY Of AMERICA V (TRANSFEROR: BROWN-DAUB CHEVROLET) -
DACA 2010L, LP (TRANSFEROR: MICHIGAN CABLE}
DACA 2910L, LP (TRANSFEROR: CLANTON ADVERTISER)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: ATLAS TRANSIT INC)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: FORUM NEWS)
DACA 2010L, LP (TRANSFEROR: PHILADELPHIA ADVERTING CLUB)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: GOLD MOUNTAIN MEDIA)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: ADAMS EXTERMINATING OF NORTH)
DEBT ACQUISITION COMPANY OF AMERICA ¥V (TRANSPEROR: BARBLZON LIGHT)
DACA 2010L, LP (TRANSFEROR: PALISADES MEDIA GROUP)
DACA 2010L, LP (TRANSFEROR: WEST POINT STATION LLC}
DACA 2010L, LP (TRANSFEROR: HAMILTON CIRCULATION)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: CREATIVE MORTGAGE USA}
DEAT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: LAKESHORE WASTE SERVICES LLC)
DACA 2010L, LP (TRANSFEROR: ENR SERVICES INC}
DACA 20L0L, LP (TRANSFEROR; SUPREME SYSTEMS, INC}
DACA 2010L, LP (TRANSFEROR: CAPITOL ELEVATOR CO INC)

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DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: Ej ELECTRIC INSTALLATION CO} iE ail? i 2,263.95

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